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“US DISTRICT COURT
 NORTER NDR CP OR TEXAS
IN THE UNITED STATES DISTRICT COURT fede
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

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CLERIC, US. DISTRICT COURT

By
’ Deputy

UNITED STATES OF AMERICA

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VS. CRIMINAL NOT #:T9-CR-137-0-

0GP 6G 6G 4G 6G

MICHAEL KYLE SEWELL

REPORT OF ACTION AND RECOMMENDATION ON PLEA
BEFORE THE UNITED STATES MAGISTRATE JUDGE

This Report of Action on Plea is submitted to the court pursuant to 28 U.S.C. §
636(b)(3). This case has been referred by the United States district judge to the undersigned for
the taking of a guilty plea. The parties have consented to appear before a United States
magistrate judge for these purposes.

The defendant appeared with counsel before the undersigned United States magistrate
judge who addressed the defendant personally in open court and informed the defendant of, and
determined that the defendant understood, the admonitions contained in Rule 11 of the Federal
Rules of Criminal Procedure.

The defendant pled guilty.

The undersigned magistrate judge finds the following:

1. The defendant, upon advice of counsel, has consented orally and in writing to

enter this guilty plea before a magistrate judge subject to final approval and

sentencing by the presiding district Judge;

2. The defendant fully understands the nature of the charges and penalties;

3. The defendant understands all constitutional and statutory rights and wishes

to waive these rights, including the right to a trial by jury and the right to appear
before a United States district judge;
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Before the United States Magistrate Judge
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4, The defendant’s plea is made freely and voluntarily;

5. The defendant is competent to enter this plea of guilty;

6. There is a factual basis for this plea; and

7. The ends of justice are served by acceptance of the defendant’s plea of guilty.

Although I have conducted these proceedings, accepted the defendant’s plea of guilty,
and pronounced the defendant guilty in open court, upon the defendant’s consent and the
referral from the United States district judge, that judge has the power to review my actions In
this proceeding and possesses final decision making authority. Thus, if the defendant has any
objections to the findings or any other action of the undersigned he should make those known to
the United States district judge within fourteen days of today.

Y recommend that defendant’s plea of guilty be accepted and that the defendant be
adjudged guilty by the United States district judge and that sentence be imposed accordingly.

Signed May 8, 2019.

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